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                    UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF OKLAHOMA

1)     ALICIA MARQUIS and                      )
2)     GARRETT KING,                           )
                                               )
              Plaintiffs,                      )
                                               )
v.                                             )    Case No.:
                                               )    (formerly Oklahoma County District
3)     NORTH STAR MUTUAL                       )    Court Case No. CJ-2014-5527
       INSURANCE COMPANY,                      )
                                               )
              Defendant.                       )

                                NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendant, North Star Mutual Insurance

Company (“North Star Mutual”), hereby removes the above-captioned action from the

District Court of Oklahoma County, State of Oklahoma, to this court. Pursuant to LCvR

81.2(a), a copy of the state docket sheet as well as all documents filed or served in the State

Court action are attached hereto as EXHIBITS 1-2. North Star Mutual has neither received

nor filed other pleadings or papers in this case.

       The removal of this case to Federal Court is based on the following:

                                  FACTUAL BACKGROUND

       1.     Plaintiffs, Alicia Marquis and Garrett King (“hereinafter collectively referred

to as Plaintiffs”) commenced this action against North Star Mutual in the District Court of

Oklahoma County, State of Oklahoma (Case No: CJ-2014-5527), on October 3, 2014. (See

Petition, attached as EXHIBIT 2.)
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       2.     Plaintiffs allege on November 21, 2012, they were involved in an automobile

accident. (See Petition, ¶1, EXHIBIT 2.)

       3.      Plaintiffs also allege that at the time of said accident they were insured under

a North Star Mutual policy, Policy No. 000150756, which provided underinsured motorist

coverage in the amount of $250,000.00. (See Petition, ¶1, EXHIBIT 2.)

       4.     Plaintiffs assert as a result of the harms and losses sustained in the subject

automobile accident they are entitled to $250,000.00 of their underinsured motorist coverage.

(See Petition, ¶1, EXHIBIT 2.)

       5.     Plaintiffs further allege North Star Mutual breached its contract and the applied

covenants of good faith and fair dealing with Plaintiffs. (See Petition, ¶¶2-3, EXHIBIT 2.)

       6.     According to Plaintiffs, as a result of North Star Mutual’s alleged wrongful acts

and omissions they have suffered harms and losses. (See Petition ¶4, EXHIBIT 2.)

       7.     Plaintiffs further assert North Star Mutual’s acts and omissions were “willful

malicious or grossly reckless and wanton, and Plaintiffs are entitled to recover punitive

damages.” (See Petition, ¶5, EXHIBIT 2.)

       8.     Plaintiffs’ prayer for relief explicitly states they are seeking a “judgment

against Defendant in an amount in excess of $75,000.00 for compensatory damages and

punitive damages, plus interest, costs, attorney fees, and for any other relief the Court deems

to be equitable and just.” (See Petition, p.3, EXHIBIT 2.)

       9.     In fact, Plaintiffs’ Petition indicates they believe their breach of contract claim

alone is worth $250,000.00. (See Petition, ¶1, EXHIBIT 2.)


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                               COMPLETE DIVERSITY EXISTS

       10.     “‘Federal Courts are courts of limited jurisdiction. They posses only the power

authorized by the Constitution and statute . . .’” Rasul v. Bush, 542 U.S. 466, 489 (2004)

(quoting Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994)). For a

federal court to have jurisdiction over a case or controversy, there must exist a federal

question or diversity jurisdiction. At the time the Petition was filed, federal question

jurisdiction did not exist. Specifically, there were no allegations that the Constitution or any

federal statute had been violated (See Petition, EXHIBIT 2.)

       11.     However, as of the moment Plaintiffs filed their Petition, diversity of

jurisdiction existed. (See Petition, EXHIBIT 2.) Specifically, as the date of Plaintiffs filing

their Petition, pursuant to U.S.C. § 1332 (a)(2), this action is a civil action over which this

Court has original jurisdiction, as it is between citizens of different states and the amount in

controversy exceeds $75,000.00, exclusive of interests and costs, as shown below.

       12.     At the time of filing, the relevant time period, upon information and belief,

Plaintiffs were residents and citizens of the state of Oklahoma. (See Groupo Dataflex v.

Atlas Global Group, L.P., 541 U.S. 567 (2004)(stating that jurisdiction depends upon the

state of things at the time of filing). Plaintiffs were not citizens of the state of Minnesota.

(See deposition transcript of Plaintiff Alicia Marquis, p.19, ll.5-16, EXHIBIT 3, see also

deposition transcript of Plaintiff Garrett King, p.14, ll.10-20, EXHIBIT 4.)

       13.      For purposes of removal under 28 U.S.C. § 1441, a corporation shall be

deemed to be a citizen of any State by which it has been incorporated and the State where it



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has its principal place of business. 28 U.S.C. § 1332(c). While Congress never defined

exactly what is a “principal place of business,” the Supreme Court recently held unanimously

that a corporation’s principal place of business is presumed to be the place of the

corporation’s “nerve center.” Hertz Corp. v. Friend, 130 S. Ct. 1181 (2010).

       14.     At the time of filing, North Star Mutual was a foreign corporation, incorporated

under the laws of the state of Minnesota with its “nerve center” or “principal place of

business” in Minnesota. North Star Mutual was not a citizen of the state of Oklahoma. (See

Annual Statement of North Star Mutual Insurance Company, attached as EXHIBIT 5.)

       15.     As Plaintiffs and Defendant are citizens of different states, the complete

diversity requirement of U.S.C § 1332 is met.

                   THE AMOUNT IN CONTROVERSY EXCEEDS THAT
              REQUIRED BY 28 U.S.C. § 1332 FOR DIVERSITY JURISDICTION

       16.     Diversity of jurisdiction also requires the removing party demonstrate that the

amount in controversy exceeds $75,000.00. See 28 U.S.C. § 1332. In this present case, this

requirement is also met.

       17.     The Tenth Circuit Court of Appeals has explained “[t]he right of removal

depends upon the case disclosed by the pleadings when the petition therefore is filed.”

Woerter v. Orr, 127 F.2d 969 (10th Cir. 1942). As disclosed by the pleadings, Plaintiffs are

seeking in excess of $75,000.00.

       18.     Specifically, Plaintiffs are seeking “judgment against Defendant in an amount

in excess of $75,000.00 for compensatory damages and punitive damages, plus interest,




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costs, attorney fees, and for any other relief the Court deems to be equitable and just.” (See

Petition, p.3, EXHIBIT 2.)

       19.     Furthermore, Plaintiffs allege as a result of the underlying accident, they are

entitled to $250,000.00 in underinsured motorist benefits from North Star Mutual. (See

Petition, ¶1, EXHIBIT 2.)

       20.     Therefore, based on the foregoing, the amount in controversy requirement is

met.

                REMOVAL TO THIS COURT IS TIMELY AND APPROPRIATE

       21.     Pursuant to 28 U.S.C § 1446(b), this Notice of Removal is timely filed with this

Court. Specifically, the lawsuit has not been on file for more than 30 days. (See OSCN

docket sheet, EXHIBIT 1.)

       22.     Additionally, pursuant to the same federal statute, one year has not elapsed

since the commencement of this action. (See Petition, filed on October 3, 2014, EXHIBIT 2.)

       23.     Lastly, this Notice of Removal has been removed to the proper federal district

court. The pertinent language of 28 U.S.C. § 1446(a) provides that the defendant shall file

the Notice of Removal in “The District Court of the United States for the district and division

within which such action is pending.” 28 U.S.C. § 1446(a). Currently, this action is pending

in the District Court of Oklahoma County, State of Oklahoma. The Western District of

Oklahoma includes the County of Oklahoma County. See 28 U.S.C. § 116(c). Therefore,

removal to this Court is proper.




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       24.     Pursuant to 28 U.S.C. § 1446(d), North Star Mutual will serve written notice

of the filing of this Notice of Removal upon Plaintiff, and North Star Mutual has filed a copy

of the Notice of Removal with the Clerk of the District Court in and for Oklahoma County,

State of Oklahoma.

       WHEREFORE, Defendant, North Star Mutual Insurance Company, removes this

action from the District Court in and for Oklahoma County, State of Oklahoma, to the United

States District Court for the Western District of Oklahoma.

                                                  Respectfully submitted,



                                                  /s Brad L. Roberson
                                                  Brad L. Roberson, OBA No. 18819
                                                  Erin J. Rooney, OBA No. 31207
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                                                  Telephone: 405-606-3333
                                                  Facsimile: 405-606-3334
                                                  Email: brad@pclaw.org; erin@pclaw.org
                                                  ATTORNEYS FOR DEFENDANT

                             CERTIFICATE OF SERVICE

       I hereby certify that on October 23, 2014, I electronically transmitted the attached
document to the Clerk of Court using the ECF System for filing. Based on the records
currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the
following ECF registrants:

       Kent McGuire, Esquire




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       I hereby certify that on October 23, 2014, I served the attached document by hand
delivery on the following, who are not registered participants of the ECF System: (insert
names and addresses):

      Tim Rhodes, Court Clerk
      Oklahoma County Court Clerk
      409 County Office Building
      320 Robert S. Kerr Avenue
      Oklahoma City, Oklahoma 73102

                                               s/ Brad L. Roberson
                                               For the Firm




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